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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

UNITED STATES OF AMERICA                     )
                                             )
v.                                           )          CASE NO. 2:09-cr-81-MEF
                                             )               (WO)
DANIEL LAMAR HATCHER                         )
PATRICK LASHON DELBRIDGE                     )

                                       ORDER

       Upon consideration of the Corrected Psychological Evaluation (Doc. #101) and the

responses of the parties to the Court’s show cause order (Docs. #118, 120, & 121), and on

the Court’s own motion, it is hereby ORDERED that:

       (1) The defendants’ cases are SEVERED;

       (2) The counts against Daniel Lamar Hatcher remain set for trial before Chief United

States District Judge Mark E. Fuller on April 19, 2010. Jury selection remains set for April

12, 2010, before United States District Judge W. Keith Watkins; and

       (3) The Renewed Motion to Sever (Doc. #111), filed on March 30, 2010, is DENIED

as moot.

       DONE this the 8th day of April, 2010.


                                                  /s/ Mark E. Fuller
                                          CHIEF UNITED STATES DISTRICT JUDGE
